Case 2:04-CV-02748-SHI\/|-tmp Document 11 Filed 08/19/05 Page 1 of 2 Page|D 9

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THOM.AS JOER.N WOLTER,
Plaintiff,
v. Cv. No. 04-2748-Ma
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,
Defendant.
JUDGMENT
Decision. by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Granting Defendant's Motion to Dismiss,
docketed August 5, 2005.

APPROVY y :

SA.M'UEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02748 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Jamie B. Naini

LAW OFFICE OF JAl\/[[E B. NAINI
5909 Shelby Oaks Dr.

Ste. 153

Memphis7 TN 38134

William W. Siler

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

